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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
EAG                                                271 Cadman Plaza East
F. #2018R01021                                     Brooklyn, New York 11201



                                                   May 28, 2021

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Philip Lombardo
                      Criminal Docket No. 19-442 (S-1) (BMC)

Dear Judge Cogan:

                The government respectfully submits this letter in connection with the
sentencing of the defendant Philip Lombardo, which is currently scheduled for June 9, 2021.
At the proceeding on May 19, 2021, the defendant represented through counsel that the
dealership where he worked had tacitly condoned his pursuit of a kickback from John Doe
#5. The government subsequently spoke with a representative from the dealership who made
clear that the dealership was not aware of the kickback and would have frowned on one had
it known of it.1 In addition, the government notes that when Lombardo was arrested,
Lombardo waived his Miranda rights and agreed to speak with the government. During that
time, Lombardo acknowledged that he was aware of the contract between the dealership and
John Doe #5 and expressly denied asking John Doe #5 for a referral fee, casting doubt on his
claim that the referral fee itself was legitimate. In light of the information set forth herein,
the government respectfully submits that notwithstanding the defendant’s claims through
counsel to the contrary, a preponderance of evidence shows that the dealership did not tacitly
condone his asking John Doe #5 for a referral fee. Moreover, as the government stated at the


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                At the appearance on May 19, 2021, the Court also questioned who would
have been responsible for any damage to the vehicles had the defendant followed through on
his threat to have the cars set on fire. The government obtained an unsigned copy of the
contract between the dealership and John Doe #5, and it appears that John Doe #5 was
responsible only for damage caused by John Doe #5’s negligence.
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proceeding on May 19, 2021, there is no dispute that the dealership did not condone his use
of extortionate means to collect the referral fee.



                                                  Respectfully submitted,

                                                  MARK J. LESKO
                                                  Acting United States Attorney

                                          By:      /s/
                                                  Elizabeth Geddes
                                                  Assistant U.S. Attorney
                                                  (718) 254-6430


cc:    Clerk of the Court (BMC) (by ECF)
       John Murphy, Esq. (by ECF)




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